Case 23-40709   Doc 70-24 Filed 01/16/24 Entered 01/16/24 13:03:39   Desc Exhibit
                      X - In re Blaustein Docket Page 1 of 5




                           Exhibit X
                                                       PRINTABLE CASE VIEW
Generated: 27-DEC-2023 04:55 AM
Search Criteria: Case ID or Citation Number: 3CG19100002K
1 record(s) total

Case ID: 3CG19100002K - IN RE FRANCES JAN BLAUSTEIN SCHOLES                 Filing Date: TUESDAY, APRIL 2, 2019
                                                                                                                                                                                                    Case 23-40709




Type: CG - Conservatorship & Guardianship                                   Court: THIRD CIRCUIT
Status: ACTIVE - Active Case                                                Location: KONA DIVISION
Last Updated: 15-Aug-2019
Related Cases

No related cases were found.
Case Parties

       Seq #              Assoc             End Date                             Type                          ID                         Name / Aliases
1                                                             Other                                     @4397033               SCHOLES, FRANCES JAN BLAUSTEIN
                   Griswold, Rhonda
                   L.
2                                                             Attorney                                  A3679                  Griswold, Rhonda L.
                   SCHOLES,
                   FRANCES JAN
                   BLAUSTEIN
3                                                             Other                                     D3CK3                  Third Circuit Court 3rd Division
Bail / Bond Information
No Bails were found.
                                                                                                                                                                                 X - In re Blaustein Docket Page 2 of 5




Events

           Event                  Parties              Date              Time               Room                    Location                 Judge           Appearance
                                                                                                                                                             Disposition
                                                                                                                                                                           Doc 70-24 Filed 01/16/24 Entered 01/16/24 13:03:39




Petition(s) For                                 06/03/2019            09:30:00      Third Circuit 3rd           KONA DIVISION        Kim ,    Robert       GRT-Granted
                                                                                    Division
Dockets

    Docket #           Date                 Docket                                Document Name                                Parties                   Filing Party
                                                                                                                                                                                                    Desc Exhibit




                                                                                        1 of 4
1   04/02/2019   Document                        PETITION FOR APPOINTMENT OF        All Case Parties   Griswold, Rhonda L.
                 Converted                       CONSERVATOR AND         GUARDIAN;
                 DOC ID: , Comments: ROBERT KIM) EXHIBITS A-B; SCHEDULE OF
                                                 PROPERTY      AND PROPOSED
                                                 BUDGET; ACCEPTANCE OF
                                                 APPOINTMENT NOTICE OF
                                                 HEARING (HRG 06/03/19 @ 9:30 AM
                                                 JUDGE
2   04/02/2019   Document                        ORDER SETTING DATE, TIME AND       All Case Parties   Griswold, Rhonda L.
                 Converted                       PLACE OF HEARING ON PETITION
                                                                                                                                                      Case 23-40709




                 DOC ID: , Comments:             FOR APPOINTMENT OF
                                                 CONSERVATOR         AND GUARDIAN
3   04/02/2019   Document                        INFORMATION DESIGNATED AS          All Case Parties   Griswold, Rhonda L.
                 Converted                       CONFIDENTIAL          PURSUANT TO
                 DOC ID: , Comments:             RULE 9 OF THE HAWAII COURT
                                                 RECORDS RULES (CONFIDENTIAL
                                                 INFORMATION)
4   04/08/2019   Document                        RETURN AND ACKNOWLEDGMENT          All Case Parties   Shelverton, Summer
                 Converted                       OF SERVICE (FRANCES JAN                               Gillenwater
                 DOC ID: , Comments: A-B;        BLAUSTEIN SCHOLES ALSO KNOWN
                 SCHEDULE OF PROPERTY AND        WAS JAN BLAUSTEINSCHOLES WAS
                 PROPOSED BUDGET                 SERVED 04/16/19 WITH 1) PETITION
                 ACCEPTANCE OF                   FOR APPOINTMENT OF
                 APPOINTMENT; NOTICE OF          CONSERVATOR AND GUARDIAN,
                 HEARING; (2) ORDER SETTING EXHIBITS
                 DATE, TIME AND PLACE OF
                 HEARING AND PETITION
                 FOR APPOINTMENT OF
                 CONSERVATOR AND
5   04/08/2019   Document                        GUARDIAN; AND (3) DOCUMENTS        All Case Parties   Shelverton, Summer
                 Converted                       SUBMITTED UNDER SEAL [DR. IAN N.                      Gillenwater
                 DOC ID: , Comments:             CHUN'S LETTER DATED 02/27/19 AND
                                                 US PASSPORT]
6   05/13/2019   Document                        FLAG SHEET NO. 1-C [CG]            All Case Parties   Griswold, Rhonda L.
                 Converted                       (HRG 06/03/19 @ 9:00 AM JUDGE
                                                                                                                                   X - In re Blaustein Docket Page 3 of 5




                 DOC ID: , Comments:             ROBERT KIM)
7   05/13/2019   Document                        PROOF OF SERVICE BY MAIL;          All Case Parties   Griswold, Rhonda L.
                 Converted                       EXHIBIT A          (HRG 06/03/19 @
                 DOC ID: , Comments:             9:00 AM JUDGE ROBERT KIM)
                                                                                                                             Doc 70-24 Filed 01/16/24 Entered 01/16/24 13:03:39




8   05/20/2019   Document                        WAIVER OF NOTICE AND CONSENT       All Case Parties   Griswold, Rhonda L.
                 Converted                       TO CONSERVATORSHIP AND
                 DOC ID: , Comments:             GUARDIANSHIP
                                                 (HRG 06/03/19 @ 9:30 AM JUDGE
                                                 ROBERT KIM)
                                                                                                                                                      Desc Exhibit




                                                                   2 of 4
15   06/03/2019   Minutes                                                           All Case Parties
                  DIGITAL RECORDING CC3.19-89/                                                         JUDG Kim, Robert
                  2019-6-3/9:34-9:36 CLERK - N.
                  LOO
                   APPEARANCES BY TELEPHONE:
                  S. SHELVERTON PETER
                  BLAUSTIN
                            SHELVERTON: NOTED
                  THAT FUNDS ARE LIMITED TO
                  ONLY $1500/MONTH THAT
                  PROTECTED
                                                                                                                                                      Case 23-40709




                   PERSON RECEIVES. ONLY THE
                  CHECKING ACCOUNT IS
                  NECESSARY.           .
                              ***RULING***
                  PETITION IS APPROVED AS
                   NOTED RE CHECKING ACCOUNT
                  RESPONDENT IS AN
                   INCAPACITATED PERSON
                  BASIS EXIST FOR APPOINTMENT
                  OF A CONSERVATOR AND
                  GUARDIAN PETER
                  BLAUSTEIN IS APPOINTED AND
                  IS QUALIFIED AS CONSERVATOR
                  AND GUARDIAN
                   LETTERS OF CONSERVATORSHIP
                  AND GUARDIANSHIP TO ISSUE
                  APPOINTING PETER BLAUSTEIN
                  FUNDS SHALL BE
                   DEPOSITED IN CHECKING
                  ACCOUNT        ACCOUNTING TO
                  BE MADE TO COURT TRI-
                  ANNUALLY ANDAT
                  TERMINATION,
                   COURT TO APPROVE BUDGET
                  AND      REASONABLE FEES AND
                  COSTS TO BE PAID. SHELVERTON
                                                                                                                                   X - In re Blaustein Docket Page 4 of 5




                  TO PREPARE THE
                   ORDERS
9    07/08/2019   Document                      ORDER GRANTING PETITION FOR         All Case Parties   Griswold, Rhonda L.
                  Converted                     APPOINTMENT OF
                                                                                                                             Doc 70-24 Filed 01/16/24 Entered 01/16/24 13:03:39




                  DOC ID: , Comments:           CONSERVATOR AND GUARDIAN
                                                (HEARING: JUNE 3, 2019 AT 9:30 AM -
                                                JUDGE KIM)
10   07/08/2019   Document                      JUDGMENT PURSUANT TO ORDER          All Case Parties   Griswold, Rhonda L.
                  Converted                     GRANTING PETITION FOR
                  DOC ID: , Comments:           APPOINTMENT OF CONSERVATOR
                                                AND GUARDIAN          (HEARING:
                                                JUNE 3, 2019 AT 9:30 AM
                                                                                                                                                      Desc Exhibit




                                                JUDGE KIM)




                                                                   3 of 4
11   07/08/2019   Document                       LETTERS OF CONSERVATORSHIP        All Case Parties   Griswold, Rhonda L.
                  Converted                      AND GUARDIANSHIP
                  DOC ID: , Comments:
12   07/08/2019   Document                    NOTICE OF APPOINTMENT OF          All Case Parties      Griswold, Rhonda L.
                  Converted                   CONSERVATOR AND          GUARDIAN
                  DOC ID: , Comments:         AND NOTICE OF RIGHT TO REQUEST
                                              MODIFICATION OR TERMINATION
13   07/15/2019   Document                    AMENDED NOTICE OF APPOINTMENT All Case Parties          Griswold, Rhonda L.
                  Converted                   OF CONSERVATOR AND GUARDIAN
                  DOC ID: , Comments:         AND NOTICE OF RIGHT TO REQUEST
                                                                                                                                                     Case 23-40709




                                              MODIFICATION OR TERMINATION
14   07/30/2019   Document                    CERTIFICATE OF SERVICE            All Case Parties      Griswold, Rhonda L.
                  Converted                   (ON JULY 25, 2019 FILED MARKED
                  DOC ID: , Comments: AMENDED COPIES OF THE ORDER GRANTING
                  NOTICE OF APPOINTMENT OF    PETITION FOR APPOINTMENT OF
                  CONSERVATOR AND GUARDIAN CONSERVATOR AND GUARDIAN,
                  AND                         JUDGMENT PURUANT THERETO, AND
                  NOTICE OF RIGHT TO REQUEST THE
                  MODIFICATION OR
                  TERMINATION WAS SERVED BY
                  US MAIL TO FRANCES
                  J.B. SCHOLES AND MICHAEL J.
                  BLAUSTEIN)
                                                                                                                                  X - In re Blaustein Docket Page 5 of 5
                                                                                                                            Doc 70-24 Filed 01/16/24 Entered 01/16/24 13:03:39
                                                                                                                                                     Desc Exhibit




                                                                 4 of 4
